             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 1 of 21 Page ID #:1



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            6         Attorneys for: Plaintiffs TWELVE SIXTY LLC, ROBERT J.
                              MARDEROSIAN and ARON M. MARDEROSIAN
            7
            8                               UNITED STATES DISTRICT COURT
            9                CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DISTRICT
            10
                      TWELVE SIXTY LLC,                    )   Case No.
            11        ROBERT J. MARDEROSIAN,               )
                      ARON M. MARDEROSIAN,                 )   COMPLAINT FOR
            12                                             )   COPYRIGHT INFRINGEMENT
                                         Plaintiffs,       )
            13                                             )
                                    v.                     )
            14                                             )   DEMAND FOR JURY TRIAL
                      COMCAST CORPORATION;                 )
            15        NBC UNIVERSAL MEDIA LLC;             )
                      PEACOCK; USA NETWORK,                )
            16        ALEXA KNIERIM, BRANDON               )
                      FRAZIER, U.S. FIGURE                 )
            17        SKATING, and DOES 1-10,              )
                      inclusive,                           )
            18                                             )
                                         Defendants.       )
            19                                             )
            20
                            Plaintiffs TWELVE SIXTY LLC, ROBERT J. MARDEROSIAN and ARON M.
            21
                      MARDEROSIAN (collectively "Plaintiffs") allege as follows:
            22
                                               PRELIMINARY STATEMENT
            23
                            1.     Plaintiffs bring this action seeking to put an immediate stop to, and to
            24
            25
                      obtain redress for, Defendants' blatant and purposeful infringement of Plaintiff's

            26        copyright of the musical master recording entitled "House of the Rising Sun." ("Master

            27        Recording" and/or “track”).
            28        ///
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 2 of 21 Page ID #:2



            1               2.     By way of brief background, Plaintiffs ROBERT J. MARDEROSIAN and
            2
                      ARON M. MARDEROSIAN are two brothers who have worked together for almost
            3
                      30years to develop their business, Plaintiff TWELVE SIXTY LLC, which provides
            4
                      custom recordings and productions of original musical compositions for use in
            5
                      television, motion pictures, film trailers, film soundtracks, product commercials and
            6
                      video games. Plaintiffs ROBERT J. MARDEROSIAN and ARON M.
            7
                      MARDEROSIAN are musical artists and performers, professionally known as "Heavy
            8
                      Young Heathens." As the Heavy Young Heathens, the Plaintiffs have written and
            9
            10        recorded music for many premiere entertainment clients including major movie

            11        studios, networks and advertisers around the world.
            12              3.     Among many other commercial uses of Plaintiffs' musical recordings,
            13        Plaintiffs have had their work featured in television and theatrical motion pictures as
            14        The Simpsons, CSI, Lucifer, Big Sky, The Righteous Gemstones, Shameless, Rules
            15        Don't Apply, Masterminds, Halloween and Supermensch, as well as prominent trailers
            16        for the motion pictures The Magnificent Seven, Deadpool, The Amazing Spider-Man
            17        2, and The Expendables.
            18
                            4.     Plaintiffs' music has additionally been used in numerous commercials for
            19
                      Starbucks, Chrysler, Dodge, Ford, Bacardi, Adidas and Red Bull.
            20
                            5.     Plaintiffs arranged and produced the Master Recording of the musical
            21
                      composition "House of the Rising Sun", which is a traditional song. The arrangement
            22
                      and production is the subject of a copyright registration by Plaintiff ARON M.
            23
                      MARDEROSIAN and Plaintiff ROBERT J. MARDEROSIAN. See Exhibit A attached
            24
            25        hereto.

            26              6.     Recognizing Plaintiffs' popularity, talent and goodwill, and in a brazen
            27        and improper effort to capitalize on Plaintiffs' hard work and copyright ownership of
            28        their master recording of "House of the Rising Sun", Defendants have used, created
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 3 of 21 Page ID #:3



            1         and publicized (or caused to be used, created and publicized) broadcasts of a 2022
            2
                      Beijing Olympic pair figure skating performance which features the Plaintiffs' musical
            3
                      composition "House of the Rising Sun" without authorization from Plaintiffs.
            4
                             7.       Defendants' conduct is causing, and unless immediately enjoined will
            5
                      continue to cause, enormous and irreparable harm to Plaintiffs. Defendants may not
            6
                      continue to exploit Plaintiffs' musical composition in order to broadcast and promote
            7
                      their products to the public without Plaintiffs’ authorization. Defendants' conduct must
            8
                      immediately be stopped and/or enjoined and Plaintiffs must be compensated for each
            9
            10        of Defendants' willful acts of infringement.

            11                                     JURISDICTION AND VENUE
            12               8.       This is a civil action seeking damages and injunctive relief for copyright
            13        infringement under the Copyright Act of the United States, 17 U.S.C. § 101, et seq.
            14               9         This Court has subject matter jurisdiction over this copyright
            15        infringement action pursuant to 28 U.S.C. §§ 1338 and 1367.
            16               10.      This Court has personal jurisdiction over Defendants because, among
            17        other things:
            18
                                      a.    Defendants are doing business in the State of California and in this
            19
                      judicial district, by providing television/cable broadcasts and internet access to their
            20
                      broadcasts and programs through streaming services provided to California residents
            21
                      who pay for subscription streaming services, thereby allowing California residents the
            22
                      ability to access at any time, the Defendants’ programing and broadcasts;
            23
                                      b.    The broadcasts and streaming occurred in this jurisdiction;
            24
            25                        c.    Defendant U.S. FIGURE SKATING does business in this district

            26        by staging and hosting figure skating events in California, including cities within this
            27        district;
            28        ///
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 4 of 21 Page ID #:4



            1                      d.     Defendants ALEXA KNIERIM and BRANDON FRAZIER reside
            2
                      in Irvine, Orange County, California.
            3
                            11.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c),
            4
                      and/or § 1400(a).
            5
                                                        THE PARTIES
            6
                            12.    Plaintiff TWELVE SIXTY LLC ("hereinafter referred to as "TWELVE
            7
                      SIXTY") is, and at all times relevant hereto was, a California Limited Liability
            8
                      company doing business in the County of Los Angeles County, State of California.
            9
            10              13.    Plaintiff ARON M. MARDEROSIAN is an individual who resides and

            11        works in the County of Los Angeles in the State of California.
            12              14.    Plaintiff ROBERT J. MARDEROSIAN is an individual who resides and
            13        works in the County of Los Angeles in the State of California.
            14              15.    Defendant COMCAST CORPORATION (“COMCAST”) is an American
            15        multinational telecommunications conglomerate headquartered in Philadelphia,
            16        Pennsylvania with its corporate address at1701 JFK Boulevard, Philadelphia, PA. It
            17        is the second-largest broadcasting and cable television company in the world by
            18
                      revenue, the largest pay-TV company, the largest cable TV company and largest home
            19
                      Internet service provider in the United States, and the nation's third-largest home
            20
                      telephone service provider.
            21
                            15.    Defendant NBC UNIVERSAL MEDIA LLC (“NBC”) is an American
            22
                      multinational mass media and entertainment conglomerate corporation owned by
            23
                      Comcast and headquartered at 30 Rockefeller Plaza in Midtown Manhattan, New York,
            24
            25        with an additional major office near Los Angeles at 10 Universal City Plaza, Universal

            26        City, California.
            27        ///
            28        ///
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 5 of 21 Page ID #:5



            1               16.    Defendant USA NETWORK (“USA”) is an American basic cable channel
            2
                      owned by Defendant NBC and is a streaming division of Defendant COMCAST’s
            3
                      NBC through NBC Universal Cable Entertainment.
            4
                            17.    Defendant PEACOCK is an American over-the-top video streaming
            5
                      service owned and operated by the television and streaming division of Defendant
            6
                      NBC, a subsidiary of Defendant COMCAST.
            7
                            18.    Defendant BRANDON FRAZIER is an American Olympic pair figure
            8
                      skater and is the partner of Defendant ALEXA KNIERIM. He is a member of Team
            9
            10        USA and on information and belief resides in Irvine, California.

            11              19.    Defendant ALEXA KNIERIM is an American Olympic pair figure skater
            12        pair and is the partner of Defendant BRANDON FRAZIER . She is a member of Team
            13        USA and on information and belief resides in Irvine, California.
            14              20.    Defendant U.S. FIGURE SKATING (“USFS”) is the national governing
            15        body for the sport of figure skating in the United States. USFS is the governing body
            16        for Team USA of which Defendants FRAZIER and KNIERIM are members. USFS
            17        promotes interest and participation in the sport by assisting member clubs, skaters, and
            18
                      athletes, appointing officials, organizing competitions, exhibitions, and other figure
            19
                      skating pursuits, and offering a wide variety of programs. USFS further hosts live
            20
                      events in California in cities such as Anaheim, San Jose and Vacaville. USFS’s
            21
                      headquarters is 20 First Street, Colorado Springs, Colorado.
            22
                            21.    The true names and capacities, whether individual, corporate, associate,
            23
                      or otherwise, of Defendants sued herein as Does 1-10, are unknown to Plaintiffs, who
            24
            25        therefore sue said Defendants by such fictitious names ("Doe Defendant"). Plaintiffs

            26        will seek leave of Court to amend this Complaint to state their true names and
            27        capacities when they have been ascertained. Plaintiffs are informed and believe and on
            28        ///
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 6 of 21 Page ID #:6



            1         that basis allege that the Doe Defendants are liable to Plaintiffs as a result of their
            2
                      participation in all or some of the acts hereinafter set forth.
            3
                            22.     On information and belief, the Defendants and each of them, were the
            4
                      agents, partners, employees, affiliates and/or engaged in a joint venture with each of
            5
                      the remaining Defendants, and were at all times acting within the purpose of said
            6
                      agency and employment, and each Defendant has ratified and approved the acts of its
            7
                      agents.
            8
            9
                                                  GENERAL ALLEGATIONS

            10              23.     Plaintiffs are the creators and owners of the master sound recording

            11        "House of the Rising Sun." Plaintiffs own the rights and title to the copyright in the
            12        sound recording "House of the Rising Sun" (the "Infringed Composition") as creators
            13        and owners.
            14              24.     Plaintiffs filed an application for copyright registration with the United
            15        States Copyright Office for the musical composition "House of the Rising Sun" and the
            16        song was registered on May 31, 2016, under SR 785-194. A true and correct copy of
            17        the registration is attached hereto as Exhibit A.
            18
                            24.     At all times herein, Defendant FRAZIER and KNIERIM chose to use the
            19
                      track for their 2022 Winter Olympic “Short Program” without the authorization or
            20
                      permission of the Plaintiffs.
            21
                            26.     At all times herein, Defendants COMCAST, NBC and PEACOCK were
            22
                      and are a source of media distribution which constitutes control over the infringement
            23
                      which is the subject of this Complaint.
            24
            25              27.     In or around February 2022, it came to Plaintiffs' attention that the

            26        Defendants infringed upon Plaintiffs' copyright and used the Infringed Composition
            27        without Plaintiffs' authorization or license for use in Defendants FRAZIER and
            28        KNIERIM’s 2022 Beijing Olympic pair figure skating program and did promote and
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 7 of 21 Page ID #:7



            1         broadcast the program on television channels throughout the United States. The track
            2
                      features an originally composed introduction and unique arrangement that has allowed
            3
                      it to be a very sought after recording. It has been featured in film and television,
            4
                      including the theatrical trailer for the Magnificent Seven and Ford auto commercials.
            5
                      The track represents a very valuable licensing asset for Plaintiffs and is a signature
            6
                      song of theirs throughout the world. In February 2022, it came to Plaintiffs’ attention
            7
                      through electronic tracking via Tunesat, Team USA social media posts, and NBC, USA
            8
                      and PEACOCK broadcasts that U.S.A. Olympic pair figure skaters Defendants
            9
            10        KNIERIM an FRAZIER were and are using Plaintiff’s master recording for their 2022

            11        Beijing Olympic "Short Program" routine without authorization or license in direct
            12        violation of the United States Copyright Act § 106(6). See Exhibit B attached hereto.
            13              28.    Plaintiffs have confirmed multiple domestic uses of the track during the
            14        2022 Winter Olympics performances on NBC, USA and PEACOCK as current as
            15        February 4, 2020. See Exhibit B attached hereto.
            16              29.    Prior to any of these broadcasts, Plaintiffs were never contacted by either
            17        Defendants KNIERIM or FRAZIER, or their coaches or choreographer, or USFS or
            18
                      Team USA, or the broadcasting networks and streaming services about licensing
            19
                      Plaintiffs’ copyrighted track for any performances or broadcasts. In addition to the
            20
                      initial broadcast of the Olympic performance by Defendant NBC, Defendant USA
            21
                      rebroadcast the Olympic performance, and NBC owned streamer PEACOCK now
            22
                      features the performance through rebroadcasts which can be accessed repeatedly
            23
                      throughout the world at any time to customers who pay to subscribe. Defendant NBC,
            24
            25        and various other news outlets chose to post video footage of the KNIERIM/FRAZIER

            26        Olympic short program performance on social media platforms and their own websites,
            27        all of which feature Plaintiffs’ master track. All of these infringements occurred
            28        without ANY license or permission by Plaintiffs.
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 8 of 21 Page ID #:8



            1               30.     Further, while all other Olympic short program routines provided an
            2
                      on-screen chyron of the song title and artist(s) who perform the song, Plaintiffs were
            3
                      deprived of such when the on-screen information for the KNIERIM/FRAZIER
            4
                      performance simply stated "House Of The Rising Sun" with no mention of Plaintiffs
            5
                      whatsoever.
            6
                            31.     These violations cause great harm to the value of Plaintiffs’ command for
            7
                      such a well known piece of their recording catalog, and insults the integrity of their
            8
                      professional reputation. While KNIERIM/FRAZIER, USFS, NBC, USA, PEACOCK
            9
            10        are all profiting from the revenue the 2022 Winter Olympics generate, Plaintiffs have

            11        been and continue to be deprived of what their creation “House of the Rising Sun”
            12        earns them per license.
            13              32.     Defendants did not have any license, authorization, permission or consent
            14        to use the Infringed Composition.
            15                                              COUNT 1
            16                                  COPYRIGHT INFRINGEMENT
            17
                                                   (17 U.S.C. §§ 106, 501, 504)
            18
                            33.     Plaintiffs incorporate herein by this reference each and every allegation
            19
                      contained in paragraphs 1 through 32, inclusive as though fully set forth herein.
            20
                            34.     Defendants conspired with one another and/or with their agents,
            21
                      subsidiaries and affiliates to wrongfully exploit Plaintiffs’ Master sound recording
            22
                      "House of the Rising Sun" without having to fairly or properly compensate Plaintiffs
            23
                      for the exploitation.
            24
            25              35.     Defendants authorized, understood, and enabled one another to exploit

            26        Plaintiffs’ track without paying Plaintiffs any money for this exploitation.
            27              36.     On information and belief, Defendants have benefitted from the illegal
            28        exploitation of Plaintiffs' song which was not authorized or permitted.
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             Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 9 of 21 Page ID #:9



            1               37.    Defendants have not paid Plaintiffs any money whatsoever for these
            2
                      exploitations of their song and Plaintiffs have been significantly damaged as a result
            3
                      of this scheme between Defendants and their co-conspirators.
            4
                            38.    Through their conduct alleged herein, Defendants have infringed
            5
                      Plaintiffs' copyright of the Infringed Composition in violation of Sections 106 and 501
            6
                      of the Copyright Act, 17 U.S.C. §§ 106 and 501.
            7
                            39.    As a direct and proximate result of the infringement by Defendants, and
            8
                      each of them, Plaintiffs are entitled to damages in an amount to be proven at trial.
            9
            10              40.    As a direct and proximate result of the foregoing acts and conduct,

            11        Plaintiffs have sustained and will continue to sustain substantial, immediate, and
            12        irreparable injury, for which there is no adequate remedy at law. Plaintiffs are informed
            13        and believe and, on that basis, allege that unless enjoined and restrained by this Court,
            14        Defendants will continue to infringe Plaintiffs' rights in the Infringed Composition.
            15        Plaintiffs are entitled to preliminary and permanent injunctive relief to restrain and
            16        enjoin Defendant's continuing infringement conduct.
            17              41.    Plaintiffs are also entitled to Defendants' profits attributable to the
            18
                      infringement, pursuant to 17 U.S.C. § 504(b), including an accounting of and a
            19
                      constructive trust with respect to such profits.
            20
                            42.    Alternatively, Plaintiffs are entitled to maximum statutory damages
            21
                      pursuant to 17 U.S.C. § 504(c) for each acts of copyright infringement.
            22
                            43.    Plaintiffs further are entitled to their attorneys' fees and costs pursuant to
            23
                      17 U.S.C. § 505 and otherwise accordingly to law.
            24
            25              44.    The conduct of Defendants as described herein is willful, wanton,

            26        malicious, fraudulent, and oppressive such that Plaintiffs are entitled to punitive
            27        damages.
            28        ///
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           Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 10 of 21 Page ID #:10



            1                                                PRAYER
            2
                            WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of
            3
                      them, jointly and severally, as follows:
            4
                            1.     For damages in such amount as may be found, or as otherwise permitted
            5
                      by law;
            6
                            2.     For an accounting of, and the imposition of constructive trust with respect
            7
                      to, Defendant's profits attributable to their infringements of Plaintiffs' copyright of the
            8
                      Infringed Composition;
            9
            10              3.     For a preliminary and permanent injunction prohibiting Defendants, and

            11        their respective agents, servants, employees, officers, successors, licensees and assigns,
            12        and all persons acting in concert or participation with each or any of them, from
            13        continuing to infringe Plaintiffs' copyright in the Infringed Composition;
            14              4.     For actual copyright infringement damages and Defendant's profits or
            15        statutory damages in an amount to be determined at trial;
            16              5.     For interest on the above-requested damages and profits at the maximum
            17        legal rate as provided by law;
            18
                            6.     For prejudgment interest according to law;
            19
                            7.     For Plaintiffs' attorneys' fees, costs, and disbursements in this action;
            20
                            8.     For punitive damages; and
            21
                            9.     For such other and further relief as the Court may deem just and proper.
            22
                      ///
            23
                      ///
            24
            25        ///

            26        ///
            27        ///
            28        ///
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           Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 11 of 21 Page ID #:11



            1                                  DEMAND FOR JURY TRIAL
            2
                           Plaintiffs demand a trial by jury.
            3
                      Dated: February 16, 2022                  MARDEROSIAN & COHEN
            4
            5
            6
            7                                                   By:
                                                                      Michael G. Marderosian
            8
                                                                      Attorney for Plaintiffs
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Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 12 of 21 Page ID #:12




                         EXHIBIT A
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 13 of 21 Page ID #:13
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 14 of 21 Page ID #:14
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 15 of 21 Page ID #:15
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 16 of 21 Page ID #:16
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 17 of 21 Page ID #:17




                         EXHIBIT B
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 18 of 21 Page ID #:18
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 19 of 21 Page ID #:19
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 20 of 21 Page ID #:20
Case 8:22-cv-00255-CJC-DFM Document 1 Filed 02/17/22 Page 21 of 21 Page ID #:21
